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ATTACHMENT 4

EMAIL FROM PROSECUTOR
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From: Jonbrielle Gill <jgill@berriencounty.org>
Sent: Tuesday, April 29, 2025 2:55 PM

To: Art Been <artb@hamptonlaw.net>
Subject: Status Conference 5/2/2025

Good afternoon,

Please see attached status offer for Friday, May 2, 2025 in front of Judge Pasula. This is a slightly
different offer to plead guilty to two misdemeanors, one being a one-year and the other being a 93-
day. The offer at our last court date was to plead to the high-court misdemeanor, which is a two-
year.

Additionally, | wanted to approach you with the idea of waiving a jury trial and requesting a bench
trial. | figured | would present the idea due to the fact that there are a lot of pieces to this case that
could potentially confuse a jury, whereas we could present the case to the judge and let her
decide. Of course this is your decision, but it was just a thought.

Let me know.

Thanks,

Jonbrielle Gill

Assistant Prosecuting Attorney
Berrien County Prosecutor's Office

811 Port Street | St. Joseph 49085
(269) 983-7111 ext. 8311

Exhibit 4 Page 1 of 1
